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                              EXHIBIT 21
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From:                Teitelbaum, Aaron (ATR) <Aaron.Teitelbaum@usdoj.gov>
Sent:                Wednesday, May 31, 2023 6:23 PM
To:                  Craig Reilly; Andrew Ewalt
Cc:                  Wood, Julia (ATR); Wolin, Michael (ATR); Choi, Stephanie (ATR); Henry, Tyler T.; Lauren Pomeroy;
                     Feder, Morgan
Subject:             Meet & Confer - Motion to Strike Under Rule 12(f)


Hi Craig and Andy,

We are considering filing a motion to strike two of Google’s affirmative defenses from its answer. The filing would occur
in all likelihood this Friday, June 2. We would like to schedule a meet and confer with you for sometime tomorrow
(Thursday, June 1) to discuss the matter.

When would be a convenient time?

As a starting point, sometime 9am to 11am ET, or 12pm to 2pm ET, or 5pm ET would be workable.

Thanks,

Aaron M. Teitelbaum
Senior Litigation Counsel | Antitrust Division
U.S. Department of Justice
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